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 7
 8              IN THE UNITED STATES DISTRICT COURT FOR THE
 9                      EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,         )   2:07-CR-00232-JAM
                                       )
12             Plaintiff,              )
                                       )   FINAL ORDER OF FORFEITURE
13        v.                           )
                                       )
14   GARY MICHAEL HULSEY, and          )
     KENNETH RITCHIE ROBERTS,          )
15                                     )
               Defendants.             )
16                                     )
17        WHEREAS, on June 25, 2008, this Court entered a Preliminary
18   Order of Forfeiture pursuant to the provisions of 21 U.S.C. §
19   853(a) based upon the plea agreement entered into between
20   plaintiff and defendant Kenneth Ritchie Roberts forfeiting to the
21   United States the following property:
22             a.    A $30,000 sub res in lieu of real property
                     located at 737 Indian Meadows Drive, Happy Camp,
23                   California, APN: (76-03) 16-530-400;
24        AND WHEREAS, on July 11, 18, and 25, 2008, the United States
25   published notification of the Court's Order of Forfeiture
26   regarding Kenneth Ritchie Roberts in the Siskiyou Daily News
27   (Siskiyou County), a newspaper of general circulation located in
28   the county in which the subject property is located.          Said

                                       1              Final Order of Forfeiture
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 1   published notice advised all third parties of their right to
 2   petition the Court within thirty (30) days of the publication
 3   date for a hearing to adjudicate the validity of their alleged
 4   legal interest in the forfeited property;
 5        AND WHEREAS, on or about April 13, 2011, this Court entered
 6   a Preliminary Order of Forfeiture pursuant to the provisions of
 7   21 U.S.C. § 853(a) based upon the plea agreement entered into
 8   between plaintiff and defendant Gary Michael Hulsey forfeiting to
 9   the United States the following property:
10               a.   A sub res in the amount of $75,217.72, plus any
                      accrued interest, in lieu of real property known
11                    as Vacant land located in Siskiyou County on China
                      Grade Road, Happy Camp, California, APN: 016-280-
12                    370;
13        AND WHEREAS, beginning on April 15, 2011, for at least 30
14   consecutive days, the United States published notice of the
15   Court's Order of Forfeiture regarding Gary Michael Hulsey on the
16   official internet government forfeiture site www.forfeiture.gov.
17   Said published notice advised all third parties of their right to
18   petition the Court within sixty (60) days from the first day of
19   publication of the notice for a hearing to adjudicate the
20   validity of their alleged legal interest in the forfeited
21   property;
22        AND WHEREAS, the Court has been advised that no third party
23   has filed a claim to the subject property, and the time for any
24   person or entity to file a claim has expired.
25        Accordingly, it is hereby ORDERED and ADJUDGED:
26        1.   A Final Order of Forfeiture shall be entered forfeiting
27   to the United States of America all right, title, and interest in
28   the below-listed property pursuant to 21 U.S.C. § 853(a), to be

                                       2              Final Order of Forfeiture
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 1   disposed of according to law, including all right, title, and
 2   interest of Kenneth Ritchie Roberts and Gary Michael Hulsey:
 3               a.   A $30,000 sub res in lieu of real property
                      located at 737 Indian Meadows Drive, Happy Camp,
 4                    California, APN: (76-03) 16-530-400, and
 5               b.   A sub res in the amount of $75,217.72, plus any
                      accrued interest, in lieu of real property known
 6                    as Vacant land located in Siskiyou County on China
                      Grade Road, Happy Camp, California, APN: 016-280-
 7                    370.
 8        2.    All right, title, and interest in the above-listed
 9   property shall vest solely in the name of the United States of
10   America.
11        3.    The U.S. Marshals Service shall maintain custody of and
12   control over the subject property until it is disposed of
13   according to law.
14        SO ORDERED this 1st day of August, 2011.
15
16                                          /s/ John A. Mendez
                                            JOHN A. MENDEZ
17                                          United States District Judge
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                                       3              Final Order of Forfeiture
